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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA,

          Plaintiff,                          Case No. 1:19−cr−117

    v.                                        Hon. Robert J. Jonker

LARRY CHARLES INMAN,

          Defendant.
                                        /

                                 CLERK'S NOTICE
The clerk's office has reviewed the following recent filing and notifies the filer
as follows:
TO: Christopher K. Cooke
RE: Response in Opposition (ECF No. 63)
REASON FOR NOTICE: Individual attachments are not broken down into
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Dated: November 12, 2019             By:     /s/ C. Wenners
                                            Deputy Clerk
